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                           IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF UTAH

SIERRA VENT, individually and on behalf           Case No.: 2:24-cv-00685-RJS
of all others similarly situated,                 Judge Robert J. Shelby


                          Plaintiff,


                                                        NOTICE OF VOLUNTARY DISMISSAL

HEALTHEQUITY, INC.,

                          Defendant.




       Plaintiff Sierra Vent (“Plaintiff”), by and through undersigned counsel, hereby gives

notice pursuant to Rule 41(a)(1)(A)(i) of the Federal Rules of Civil Procedure, that the above-

captioned action is voluntarily dismissed, without prejudice against the Defendant, HealthEquity,

Inc (“Defendant”). Defendant has not served an answer or motion for summary judgment in this
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action. Furthermore, Plaintiff has not previously dismissed any federal or state court action based

on or including the same claims. Accordingly, Plaintiff notices voluntary dismissal of this action,

without prejudice.



Dated: 9/25/2024                             Respectfully submitted,

                                             VALERGA LLP
                                             /s/Brody Valerga
                                             Brody Valerga

                                             -AND-

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